        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 1 of 33



           IN THE UNITED STATES COURT OF FEDERAL CLAIMS


THE MODERN SPORTSMAN, LLC, ET AL.,

              Plaintiffs,

      v.
                                                          Case No.: 1:19-cv-449
THE UNITED STATES,
                                                          Judge Loren A. Smith
             Defendant.



               PLAINTIFFS’ OPPOSITION TO DEFENDANT’S
                         MOTION TO DISMISS

      Plaintiffs, The Modern Sportsman, LLC, et al., (“Plaintiffs”), by and through their

undersigned counsel, hereby files their Response in Opposition to The United States of

America’s Motion to Dismiss.
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 2 of 33



                                TABLE OF CONTENTS

      TABLE OF AUTHORITIES……………………………………………………….......ii

      INTRODUCTION……………………………………………………………………..…1

      ISSUE PRESENTED……………………………………………………………………3

      STATEMENT OF THE CASE…………………………………………………..……..3

      ARGUMENT………………………………………………………………….................6

I.    The Government’s Final Rule requiring surrender or destruction of lawfully
      acquired bump-stocks was a per se physical taking….........................................6

      A. The Government’s “police powers” do not excuse payment of just
         compensation for a categorical physically taking……………………………...8

      B. Bump-stocks were neither “property that is subject to a statutory
         prohibition” nor “property that may be subject to a statutory
         prohibition” within the meaning of Takings jurisprudence……………......12

                      1. Bump-stocks were not statutorily prohibited property
                         when the Final Rule took them…………….…………………….         13

                      2. The possibility that tangible private property “may” be
                         subject to a statutory prohibition does not preclude a
                         compensable takings claim………………………………………..              17

      C. Federal district court decisions on state laws banning the possession of
         bump-stocks do not determine the validity of Plaintiffs’ claims…….………    20

      D. A ruling upholding Plaintiffs’ Fifth Amendment right to just
         compensation will not unleash the Government’s threatened parade of
         horribles………………………………………………………….………………......                        22

II.   Even under a regulatory takings analysis, the Final Rule was still a
      categorical taking…………………………………………………..……………………                      23

      CONCLUSION…………………………………………………………………………..
                                            26




                                               i
  Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 3 of 33



                               TABLE OF AUTHORITIES

Cases

A & D Auto Sales, Inc. v. United States,
748 F.3d 1142 (Fed. Cir. 2014)….…………………………………………...…20, 24

Acadia Technology v. United States,
458 F.3d 1327 (Fed. Cir. 2006)...…………………………………………….…11, 12

Akins v. United States,
82 Fed. Cl. 619 (2008)………………………………………………….…3, 15, 16, 20

Akins v. United States,
312 F. App'x 197 (11th Cir. 2009)………………………………………………..…16

Allied-General Nuclear Services v. United States,
839 F.2d 1572 (Fed. Cir. 1988)………………………………...………18, 19, 20, 25

AmeriSource Corp. v. United States,
525 F.3d 1149 (Fed. Cir. 2008)…………………………………………….……11, 12

Andrus v. Allard,
444 U.S. 51 (1979)……….….........................................................................25, 26

Bell Atl. Corp v. Twombly,
550 U.S. 544 (2007)…………………………………………………….………………6

Caldwell v. United States,
391 F.3d 1226 (Fed. Cir. 2004)…………………………………………………...…10

Cambridge v. United States,
558 F.3d 1331 (Fed. Cir. 2009)…………………………………………….…………6

Duncan v. Becerra,
366 F. Supp. 3d 1131, (S.D. Ca. 2019).………………………………………….…21

Guedes v. BATFE,
920 F.3d 1 (2019) (per curium)………………………………………………5, 14, 15

Horne v. Department of Agriculture,
-- U.S. --, S.Ct. 2419 (2015)……..……...............................................…2, 7, 21, 22




                                              ii
 Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 4 of 33



Loretto v. Teleprompter Manhattan CATV Corp.,
458 U.S. 419 (1982)..………………………………………….……………3, 4, 10, 12

Lucas v. South Carolina Coastal Council,
505 U.S. 1003 (1992)………………………………………………..……2, 10, 24, 25

Maryland Shall Issue v. Hogan,
353 F. Supp. 3d 400 (D. Md. 2018)…………………………………………………21

Miller v. Schoene,
276 U.S. 272 (1928)……………………………………………………......8, 9, 10, 11

Mitchell Arms, Inc. v. United States,
7 F.3d 212 (Fed. Cir. 1993)…………………………………….………18, 19, 20, 25

Mugler v. Kansas,
123 U.S. 623 (1887)………………………………………………………...8, 9, 10, 11

Omaha Public Power District v. United States,
69 Fed. Cl. 237 (2005)………………………………………………………………….6

Patty v. United States,
136 Fed. Cl. 211 (2018)……………………………………………………………..…8

Penn Central Transportation Co. v. New York City,
438 U.S. 104 (1978)………………………………………………………………..…24

Pennsylvania Coal v. Mahon,
260 U.S. 393 (1922)…...…………………………………………………………...…24

PruneYard Shopping Ctr. v. Robins,
447 U.S. 74 (1980)……………………………………………………………………24

United States v. Dow,
357 U.S. 17 (1958)……………………………………………………………………10

Statutes

26 U.S.C. Chapter 53……………………………………………………………….…4

18 U.S.C. Chapter 44…………………………………………………………....…….4

Pub. L. No. 99-308, 100 Stat. 449 (1986)……………………….……………..……4



                              iii
 Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 5 of 33



Rules

RCFC 12(b)(6)…………………………………………………………………..……....6

Regulations

83 Fed. Reg. 66,523……………………………………………………...………….2, 7

83 Fed. Reg. 66,514…………………………………………………………………….4

83 Fed. Reg. 7950………………………………………………………………...…….4

83 Fed. Reg. 66,538…..…………………………………………………………...…….5




                              iv
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 6 of 33



            IN THE UNITED STATES COURT OF FEDERAL CLAIMS


THE MODERN SPORTSMAN, LLC, ET AL.,

               Plaintiffs,

       v.
                                                        Case No.: 1:19-cv-449
THE UNITED STATES,
                                                        Judge Loren A. Smith
              Defendant.



               PLAINTIFFS’ OPPOSITION TO DEFENDANT’S
                         MOTION TO DISMISS

                                 INTRODUCTION

      Plaintiffs brought this action against the United States (the “Government” or

the “Defendant”) after the Government took their private property without

compensation in violation of the Fifth Amendment of the United States Constitution.

Plaintiffs were the owners of bump-fire type rifle stocks (collectively referred to as

“bump-stocks” or “stocks”). Bump-stocks were fully legal in the United States when

Plaintiffs acquired them, and they remained legal at all times until the Government

demanded their surrender or destruction at the end of 2018.

      The taking of Plaintiffs’ bump-stocks was prompted by President Donald

Trump’s direction to his Administration to “clarify” whether bump-stocks “should be

illegal” in the wake of the Las Vegas mass shooting in October of the previous year.

The Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) responded by

revisiting the statutory definition of “machinegun,” a category of firearms banned by



                                          1
         Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 7 of 33



Congress in 1986, and artfully reimagining the agency construction of the term

“machinegun” so that it could—for the first time—encompass bump-stocks. In

December 2018, ATF rolled out a new legislative rule banning bump-stocks under the

statutory ban on machineguns (“the Final Rule” or “Rule”). The Rule required owners

of bump-stocks to surrender them to the Government or destroy them, even though

legislative rules are prospective in nature, and the Final Rule was clear that a person

in possession of a bump-stock type device was “not acting unlawfully unless they fail

to relinquish or destroy their device after the effective date of this regulation.” 83 Fed.

Reg. at 66,523 (emphasis added).

      The Government’s new Rule requiring the surrender or destruction of lawfully

acquired stocks was categorically a taking under any Fifth Amendment analysis—

physical or regulatory. It was a classic physical taking because it totally and

permanently dispossessed Plaintiffs of their tangible property. That is the very

blueprint for a per se physical taking that demands compensation no matter how

weighty the government interest behind it. Horne v. Department of Agriculture, --

U.S. --, S.Ct. 2419, 2427 (2015). However, even a regulatory taking analysis

inexorably leads back to the conclusion that the Government has a categorical duty

to compensate Plaintiffs for their losses because an act of government that confiscates

or destroys property obviously necessarily also deprives its owner of all beneficial use

of the property—the lynchpin of a categorical regulatory taking. Lucas v. South

Carolina Coastal Council, 505 U.S. 1003, 1017 (1992).




                                            2
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 8 of 33



      Defendant tries to shoehorn the facts underlying Plaintiffs’ claim to fit this

Court’s ruling in favor of the Government in Akins v. United States, 82 Fed. Cl. 619

(2008), by obscuring that the bump-stock Rule was an exercise of the ATF’s legislative

authority, not an Akins-style interpretive rule that merely enforces statutory

restrictions that were always in place. The difference is not merely technical; it means

that the property at issue in Akins was already illegal when the alleged taking

occurred, while Plaintiffs’ property was lawfully acquired and lawfully held up until

the moment the Government required its surrender or destruction. The Government

cannot rely on any of the narrow exceptions to categorical physical takings borrowed

from Akins to justify the taking of Plaintiffs’ legally held private property without

compensation. The motion to dismiss must be denied.

                                ISSUE PRESENTED

      Whether the promulgation of a legislative rule banning lawfully acquired

personal property that requires owners to physically surrender their property to the

Government or destroy it and dispossess themselves of any scrap is a taking under

the Fifth Amendment of the United States Constitution.

                           STATEMENT OF THE CASE

      The Takings Clause of the Fifth Amendment of United States Constitution

provides that “private property” shall not “be taken for public use, without just

compensation.” U.S. Const. amend. V. The Fifth Amendment imposes a categorical

duty on the government to pay just compensation for physical takings of private

property. Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419, 421 (1982).



                                           3
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 9 of 33



A physical taking occurs when the state “absolutely dispossess[es] the owner of

property.” Id. at 435 n.12.

      Three federal statutes regulate the sale and possession of firearms in the

United States, the National Firearms Act of 1934 (NFA), 26 U.S.C. Chapter 53; the

Gun Control Act of 1968 (GCA), 18 U.S.C. Chapter 44; and the Firearm Owners

Protection Act (FOPA), Pub. L. 99-308, 100 Stat. 449 (1986). The GCA and FOPA

specifically define the term “machinegun,” and in 1986, FOPA made it unlawful for

any person to transfer or possess any firearm that meets the statutory definition of

machinegun if it was not lawfully possessed before FOPA’s effective date in 1986.

      The ATF is the federal agency charged with administering the NFA, GCA and

FOPA. For nearly a decade, the ATF issued a series of classification decisions

announcing and affirming the agency determination that bump-stocks are not

machineguns, as defined by the GCA and FOPA, and not subject to federal regulation.

83 Fed. Reg. at 66,514.

      On February 20, 2018, President Donald Trump issued a “Presidential

Memorandum on the Application of the Definition of Machinegun to ‘Bump Fire’

Stocks and Other Similar Devices” as a response to the October 2017 Las Vegas mass

shooting. President Trump noted that “the Obama Administration repeatedly

concluded that particular bump stock type devices were lawful to purchase and

possess,” and announced that he had asked his Administration “to fully review how

the Bureau of Alcohol, Tobacco, Firearms and Explosives regulates bumpfire stocks

and similar devices.” 83 Fed. Reg. 7950. The full review mandated by President



                                         4
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 10 of 33



Trump culminated in the issuance of an ATF legislative rule that broadened elements

of the definition of “machinegun” under the NFA, GCA and FOPA, such that the

FOPA ban on machine guns could reach bump-stocks.

      A challenge to the validity of the Final Rule is now pending in the United State

District Court for the District of Columbia. The district court denied plaintiffs’

motions for preliminary injunctions to halt the Rule’s effective date, and the Court of

Appeals for the D.C. Circuit affirmed the denial of preliminary injunctive relief on

April 1, 2019. As part of its analysis, the district court determined that the Final Rule

was legislative in nature and not merely interpretive. The D.C. Circuit agreed that

the Rule is unequivocally legislative, notwithstanding “the government’s litigating

position in this case that seeks to reimagine the Rule as merely interpretive.” Guedes

v. Bureau of Alcohol, Tobacco, Firearms and Explosives, 920 F.3d 1, 19 (2019) (per

curium).

      Plaintiffs are two corporations and two private individuals who legally

acquired and possessed bump-stocks at the time of the issuance of the Final Rule.1

Am. Compl. ¶¶ 14-17. All four Plaintiffs destroyed the bump-stocks in their

possession and discarded the resulting scrap, in accordance with the Final Rule. Am.

Comp. ¶¶ 39-42. The bump-stocks had no scrap value and cost Plaintiffs money to

destroy. ¶ 43. Plaintiffs allege that the Rule’s requirement that bump-stocks be

surrendered or destroyed effected a taking under the Fifth Amendment of the United



1Based on ATF estimates, Plaintiffs’ bump-stocks had a combined fair market value
of approximately $22,498,500 at the time of the issuance of the Final Rule. Final
Rule, 83 Fed. Reg. at 66,538.
                                           5
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 11 of 33



States Constitution. Am. Compl. ¶ 13. The United States has not provided Plaintiffs

with just compensation for the taking of Plaintiffs’ property. Am. Compl. ¶ 50.

                                     ARGUMENT

                                 Standard of Review

      In considering a Rule 12(b)(6) motion for failure to state a claim, the Court

must construe the Amended Complaint in the light most favorable to Plaintiffs and

accept as true the facts as plead. Cambridge v. United States, 558 F.3d 1331, 1335

(Fed. Cir. 2009). As the moving party, the Government bears the burden of proving

that the complaint should be dismissed. Bell Atl. Corp v. Twombly, 550 U.S. 544, 555

(2007). Under Rule 12(b)(6), a claim may be dismissed only if it asserts a theory

that is not cognizable as a matter of law or because it fails to allege sufficient facts to

support an otherwise cognizable legal claim. Omaha Public Power District v. United

States, 69 Fed. Cl. 237 (2005). The Government’s motion must be denied if Plaintiffs

plead factual allegations that are enough to raise a right to relief above the

speculative level on the assumption that all the allegations in the complaint are true,

even if doubtful in fact. Twombly, 550 U.S. at 555.

I.    The Government’s Final Rule requiring surrender or destruction of
      lawfully acquired bump-stocks was a per se physical taking.

      The ATF Final Rule required owners of bump-stocks to surrender their private

property to the government or destroy it.2 Those were the only two options. One way

or the other, Plaintiffs were permanently dispossessed of their property. The Rule


2The ATF’s website confirms “[c]urrent possessors of bump-stock-type devices must
divest themselves of possession as of the effective date of the final rule[.]”
https://www.atf.gov/rules-and-regulations/bump-stocks (last visited June 18, 2019).
                                            6
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 12 of 33



also acknowledged that ownership of the stocks before the effective date of the Rule

of March 26, 2019 was entirely legal. 83 Fed. Reg. 66,523. This is a Fifth Amendment

“taking” in the most literal sense of the word. The Rule did not just take value from

Plaintiffs’ property by over-regulating it; it actually physically took the tangible

property itself. Unlike a taking by regulation that might leave the owner with some

property rights intact, Plaintiffs were left with nothing.

      The takings analysis of a physical dispossession of personal property by the

Government is uncomplicated. The Government has a categorical duty to pay just

compensation. A physical appropriation of personal property by the government is

per se a taking that must be compensated, regardless of the public benefit the

government sought to achieve or the economic impact on the owner. Horne v.

Department of Agriculture, -- U.S. --, 135 S.Ct. 2419, 2425-27 (2015). Courts do not

balance the government’s interests against the owner’s interest. The Government’s

obligation to compensate is absolute.

      The Government insists that Plaintiffs’ complaint does not state a claim under

the Takings Clause but does not dispute that the Final Rule totally dispossessed

Plaintiffs of their property. Instead, the Government seeks refuge from categorical

liability by invoking narrow exceptions that are factually inapplicable as if they were

broad exculpatory principles. Defendant first extravagantly pronounces that the

Government can “generally” take whatever it wants whenever it wants without

paying compensation by invoking the power of the state to exercise its police powers

to protect public health and safety. Mot. at 9. The Government then broadly asserts



                                           7
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 13 of 33



that, “a compensable taking does not occur when the Government takes property that

is, or may be, subject to a statutory prohibition.” Id. The Government has taken these

principles out of specific factual contexts. They do not apply to Plaintiffs’ claims.

      A.      The Government’s “police powers” do not excuse payment of
              just compensation for a categorical physically taking.

      The Government acknowledges that the state cannot evade its legal obligation

to pay just compensation when it physically takes private property merely by

invoking the police powers of the state. Mot. at 11. Nonetheless, Defendant hides

behind the vague assertion that “certain” exercises of police power justify taking

property without compensation, id., without making any attempt to identify which

exercises of police power under which circumstances qualify for this narrow

exception.3

      Defendant cites two century-old Supreme Court decisions—Miller v. Schoene

and Mugler v. Kansas. Neither decision was a physical takings claim and neither has

any bearing on Plaintiffs’ Fifth Amendment right to just compensation for property

that was physically taken from them. The only thing that those cases have in common

with this one is that they feature the buzz words “police power,” “health,” “safety,”

and “morals,” and the Government suggests that somehow these words magically




3 This Court has held that the narrow “police power” exception has only been
applied with respect to property that is the subject of an investigation, property
owned by an individual who is the subject of an investigation, or property that was
“related, before the fact, to any violation of regulation or statute.” Patty v. United
States, 136 Fed. Cl. 211, 215 (2018) (emphasis added). As discussed infra, none of
those circumstances obtain here.
                                            8
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 14 of 33



establish that any exercise of police powers that invokes public safety cannot be a

compensable taking under any analysis. The decisions themselves belie that claim.

      The plaintiff in Miller asserted a claim under the Due Process Clause

challenging a Virginia statute that diminished the value of his real property by

requiring the removal of certain blighted cedar trees. 276 U.S. 272, 277 (1928). The

Government represents that the Supreme Court found that “no compensable taking

had occurred”—but that was not a takings case. The Supreme Court merely upheld

the Virginia statute under a Due Process analysis. The Government strains to

analogize Miller to Plaintiffs’ claims by seizing on the Court’s use of the term

“destruction” to refer to the felling of the trees. Mot. at 11. The Court in Miller,

however, explicitly found that the plaintiff had “the privilege of using the trees when

felled.” Id. at 277. More importantly, the issue before the Court was the detrimental

impact of the statute on the value of Miller’s land, but not its destruction. Id. To the

extent that the Court’s acceptance of the Government’s public safety justification to

uphold the Virginia statute can be extrapolated to takings claims, it can only be

applied to regulations that diminish the value of property.

      Mugler likewise adds nothing to the analysis of this case because it was

nothing more than a nascent regulatory takings case. 123 U.S. 623 (1887). State

legislation prohibited the plaintiffs from using their real property to manufacture or

sell alcoholic beverages, but they retained possession of their property and could do

anything they wished with it except sell or produce alcohol. Id. There is no indication




                                           9
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 15 of 33



that the state of Kansas demanded surrender or destruction of alcohol that had been

lawfully manufactured on the property before the Kansas statute was enacted.

      In the century that has elapsed since Mugler and Miller were decided, the

Supreme Court has specifically limited these two decisions to the regulatory takings

context where the aggrieved owner retains some value in his property. The Supreme

Court explained that these decisions were nothing more than the Court’s “early

formulation of the police power justification necessary to sustain (without

compensation) any regulatory diminution in value[.]’ Lucas v. S.C. Coastal Council,

505 U.S. 1003, 1026 (1992) (emphasis added) (citing Mugler v. Kansas, 123 U.S. 623

(1887) and Miller v. Schoene, 276 U.S. 272 (1928)).

      Whatever application these cases may have to regulatory takings that work a

diminution in value, they are irrelevant to a physical takings analysis of Plaintiffs’

claims. The rule has always been that a physical invasion or a physical appropriation4

of property is a per se taking, without regard to other factors. Loretto, 458 U.S. 419.

      The Government makes a second attempt to fashion a general “police powers”

exemption from the Takings Clause out of a narrow category of government seizures

of property that do not require compensation: the seizure of property to be used as

evidence in a criminal prosecution and the seizure of property that is subject to an in

rem civil forfeiture proceeding. The cases cited by the Government demonstrate that

Plaintiffs’ claims have no relationship to either category.



4 Physical appropriation occurs when the “owner [is] deprived of valuable property
rights, even [if] title ha[s] not formally passed.” Caldwell v. United States, 391 F.3d
1226, 1235 (Fed. Cir. 2004) (citing United States v. Dow, 357 U.S. 17, 23 (1958)).
                                          10
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 16 of 33



      In Acadia Technology v. United States, the Government took Acadia’s property

pursuant to its authority under the Lanham Act to seize imported goods suspected of

bearing a counterfeit mark. 458 F.3d 1327, 1329 (Fed. Cir. 2006). Plaintiffs’ bump-

stocks were never suspected of being in violation of any statutory scheme when they

were taken. Similarly, in AmeriSource Corp. v. United States, the Government seized

prescription drugs sold by plaintiffs to a pharmacy whose principals were indicted for

“conspiracy, unlawful distribution of prescription pharmaceuticals, operating an

unregistered drug facility, and conspiracy to commit money laundering.” 525 F.3d at

1150. The AmeriSource plaintiffs were not implicated in the indictment, but their

property, the drugs that had allegedly been unlawfully distributed, were implicated

in the crimes. Id. In both cases, the property taken by the Government was itself

implicated in unlawful activity, whereas neither Plaintiffs nor their bump-stocks

were implicated in any criminal scheme. The Government did not seize the bump-

stocks to serve as evidence in a criminal investigation, nor were they the “suspected

instrumentality of a crime.” The Government simply required the surrender or

destruction of lawfully obtained property as part of the state’s resolution to strike a

new balance between the right to bear arms and public perceptions of safety.

      The Government has done nothing more than cull cases featuring the words

“police power” that were decided in the government’s favor and present them as if

they have universal application to all takings. Unlike the Supreme Court’s early

regulatory decisions in Mugler and Miller, Plaintiffs’ property was not merely

diminished in value; it was physically taken outright. Unlike the Federal Circuit’s



                                          11
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 17 of 33



decisions in Acadia and AmeriSource, Plaintiffs’ property was not taken as part of

the state’s prosecution of a criminal statute—either as evidence of a crime or as the

suspected instrumentality of a crime; it was merely taken because the Government

rebalanced some citizens’ right to bear arms against other citizens’ desire for greater

gun control. Defendant has presented no authority for the proposition that the Final

Rule was one of the “certain” exercises of police power that absolves the Government

of the obligation to pay just compensation for the private property it takes. There is

nothing about the physical taking exacted by the Government’s exercise of its police

powers in the Final Rule to remove it from the general proposition that the validity

of an exercise of the state’s police power is a question that is separate and apart from

the takings analysis. Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419,

425 (1982).

      B.      Bump-stocks were neither “property that is subject to a
              statutory prohibition” nor “property that may be subject to a
              statutory prohibition” within the meaning of Takings
              jurisprudence.

      In its second asserted defense, the Government proposes that, “a compensable

taking does not occur when the Government takes property that is, or may be, subject

to a statutory prohibition[,]” seemingly suggesting that takings jurisprudence treats

what Defendant vaguely describes as “property that may be subject to a statutory

prohibition” the same as it treats property that is statutorily prohibited. The latter is

contraband plain and simple, whereas the former could be just about anything. For

purposes of clarity of analysis, Plaintiffs address each prong separately, beginning

with property prohibited by statute.

                                           12
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 18 of 33



      1.     Bump-stocks were not statutorily prohibited property when the Final
             Rule took them.

      At the beginning of its motion, Defendant introduces its contention that the

Final Rule cannot be a taking because the Rule merely enforced an existing statutory

prohibition on the possession of bump-stocks. The Government can only argue that

the Final Rule was mere enforcement of a statutory bar if bump-stocks were subject

to a statutory bar, and Defendant appears to be headed in that direction in the

beginning of the motion. The Government maintains that Plaintiffs “urge that

enforcing the prohibition on machine guns in this case gives rise to a taking.” Mot. at

2. In the Summary of Argument, the Government again insists that no taking can be

found because the Government was merely enforcing a 1986 statutory prohibition on

Plaintiffs’ property:

      No taking would have occurred even absent a statutory
      prohibition. Here, however, plaintiffs’ sole complaint is that the
      Government is enforcing a statutory bar on the transfer or
      possession of machine guns.

Mot. at 9-10. Casting the Final Rule as enforcement of an existing statutory bar would

certainly be the Government’s best shot at evading Fifth Amendment liability, but

the Government does not pursue that argument in the body of its motion.5 That is

because the United States Court of Appeals for the D.C. Circuit effectively shut down

the contention that Plaintiffs’ bump-stocks were “property subject to a statutory



5Once, near the end of the Argument, the Government breezily alludes to the
position that bump-stocks were always illegal by characterizing Plaintiffs’
possession of bump-stocks as a test of “the limits of a criminal prohibition in the
highly regulated area of firearms,” mot. at 16, but does not directly make the
argument that the statutory machinegun prohibition always included bump-stocks.
                                          13
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 19 of 33



prohibition” in its April 1, 2019 decision in Guedes v. Bureau of Alcohol, Tobacco,

Firearms and Explosives, 920 F.3d 1 (2019).

      As the D.C. Circuit explained in Guedes, the Final Rule was a legislative rule

with the force and effect of law that criminalized the possession of Plaintiffs’

previously lawful property going forward. Id. at 17-21. The inescapable upshot from

the Guedes decision is that bump-stocks were legal before the Final Rule was issued.

      The reasoning in Guedes is unassailable. The Administrative Procedures Act

distinguishes between legislative rules and interpretive rules. Id. at 17. Legislative

rules result from an agency’s exercise of delegated legislative power from Congress

and have the force of law. Id. at 17-18. Interpretive rules merely advise the public of

the agency’s construction of the statutes it administers. Id. Legislative rules establish

a new legal rule going forward, whereas interpretive rules reflect what the

interpreted statute always meant. Id. at 19.

      To determine whether an agency rule is legislative or interpretive, courts ask

whether the agency intended to speak with the force of law, as reflected by the

language the agency uses in the rule, the agency’s specific invocation of its general

legislative authority, and the inclusion of the rule in the Code of Federal Regulations.

Id. at 18. The D.C. Circuit found every indication that the Final Rule “unequivocally

bespeaks an effort to adjust the legal rights and obligations of bump-stock owners,

i.e., to act with the force of law.” Id. The language of the Rule itself clearly indicates

that bump-stocks will be prohibited only in the future when the Rule takes effect. Id.

The Rule specifically invokes both its legislative authority delegated by Congress and



                                           14
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 20 of 33



the Chevron deference accorded only to legislative rules by the courts. Id. The ATF

published the Final Rule in the Code of Federal Regulations. Id.

       Guedes determined that the Final Rule was legislative despite the

Government’s efforts to recast the rule as interpretive, presumably to pre-empt

takings claims like Plaintiffs. Guedes observed that if the Government’s assertion

that the Final Rule was an interpretive rule was correct, then bump-stocks would

always have been illegal and any possessors would have always been felons. Id. That

would also mean in this case that the Plaintiffs did not acquire any rights in their

illegal contraband property. The D.C. Circuit, however, noted that the Final Rule

itself assured bump-stock owners that “[a]nyone currently in possession of a bump-

stock-type device is not acting unlawfully unless they fail to relinquish or destroy

their device after the effective date.” Id. at 18.

       After Guedes, it is clear that the Final Rule was prospective only and any

contention that statutorily prohibited property cannot support a takings claim is

irrelevant to Plaintiffs’ claims. It is also what distinguishes Plaintiffs’ claims from

this Court’s decision in Akins v. United States. The ATF reclassification of the Akins

Accelerator, described in Defendant’s motion (Mot. at 13-14) was an interpretive rule

with retroactive effect. Unlike the Final Rule, it had no indicia of the agency’s

intention to exercise its legislative authority—e.g., it did not reference the ATF’s

delegated legislative authority or make a case for Chevron deference, and it was not

published in the Code of Federal Regulations.




                                            15
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 21 of 33



      Just as compelling as the legal distinctions between the Akins rule and the

Final Rule are the real-world indications that ATF was acting in its retroactive

interpretive capacity in Akins and in its prospective legislative rule-making capacity

when it promulgated the Final Rule. The ATF’s early determinations that the Akins

device did not meet the definition of machinegun were made on the basis of design

specifications and a non-functioning sample of the device. The determination was

based only on the Accelerator’s “theory of operation,” which “was clear even though

the rifle/stock assembly did not perform as intended.” See Akins v. United States, 312

F. App'x 197, 198 (11th Cir. 2009). The subsequent determination that the

Accelerator was a “machinegun” under the federal firearms statutes was the result

of the ATF’s obtaining and testing an Accelerator that did perform as intended. Akins,

82 Fed. Cl. at 621.

      The Final Rule’s change of heart about bump-stock devices, on the other hand,

was unrelated to organic statutory interpretation or new technical information about

how bump-stock devices function. It was prompted by a mandate from the White

House. It was political. President Trump underscored the political nature of the

“clarification of the law” he sought about bump-stocks by reminding the public that

“the Obama Administration repeatedly concluded that particular bump stock type

devices were lawful to purchase and possess.” The Final Rule was prompted by a

change in policy, not by greater familiarity with the device at issue. Whether the

Final Rule is considered from a layperson’s real-world perspective or subjected to

legal analysis, it was obviously new legislation, not interpretation of statutory



                                         16
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 22 of 33



language. Consequently, it is not surprising that the Government shrinks from

attempting to develop the argument that Plaintiffs’ property was “subject to a

statutory prohibition.” Analysis and the D.C. Circuit have utterly removed the ground

from underneath that contention. Nonetheless, Defendant left a ghost of that

argument lingering in its formulation of the defense that “a compensable taking does

not occur when the Government takes property that is, or may be, subject to a

statutory prohibition.” Mot. at 9. Certainly, the sturdy proposition that statutorily

prohibited property cannot support a takings claim bolsters the otherwise vague and

dubious assertion that property that “may be subject to a statutory prohibition”

cannot be the basis of takings claim. To be clear, however, each proposition has to

stand on its own, and there is no factual basis for the first prong that characterizes

Plaintiffs’ property as “subject to a statutory prohibition.” It was not. Nor has the

Government argued that it was; it merely pitched the idea in a suggestive manner.

The suggestion must be rejected.

      2.     The possibility that tangible private property “may” be subject to a
             statutory prohibition does not preclude a compensable takings claim.

       The Government insists that property that “may be subject to a statutory

prohibition” does not give rise to a compensable taking. Property that “may be subject

to a statutory prohibition” is arguably all property, with the possible exception,

ironically, of a property interest in firearms because the right to bear arms is

protected by the Second Amendment of the United States Constitution. The

Government has crafted this absurdly broad contention out of a narrow exception to

Takings in the hopes that it will go unnoticed that it does not apply to Plaintiffs’

                                         17
          Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 23 of 33



claims. The only way to divine when property that “may be subject to a statutory

prohibition” is actually unprotected by the Takings Clause is to distill the narrow

exception from the cases cited by Defendant.

          The Government cites to two Federal Circuit cases in which plaintiffs asserted

a property interest in a business expectation that depended on the issuance of a

government permit. In both Mitchell Arms, Inc. v. United States, 7 F.3d 212 (Fed. Cir.

1993) and Allied-General Nuclear Services v. United States, 839 F.2d 1572 (Fed. Cir.

1988), the Federal Circuit refused to find a taking under the Fifth Amendment for

Plaintiffs who complained that the government denied them an anticipated federal

permit that was necessary to operate business operations importing semiautomatic

rifles and recycling plutonium, respectively. Both courts held that such business

expectancies are not property rights protected by the Fifth Amendment because

Mitchell’s business was subject to governmental regulation of firearms importation

and Allied-General’s business was subject to regulation of nuclear facilities. Mitchell

Arms, 7 F.3d at 217. In other words, neither Plaintiff ever had exclusive possession

of the taken “property”; it always shared possession with the federal government. Id.

at 215.

      Plaintiffs’ claims do not flow from the denial of a government permit. Nor do

Plaintiffs claim a property interest in a business expectation. Plaintiffs’ claims are

simpler. Plaintiffs owned tangible personal property. The Final Rule took tangible

property from Plaintiffs by forcing its surrender or destruction. The Government

makes no attempt to explain how the rule in Mitchell Arms and Allied-General has



                                            18
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 24 of 33



any application to takings claims for the actual physical bump stocks. It is not enough

to point out, as the Government does, that both Plaintiffs’ claims and Mitchell Arms

concern firearms. So what? In fact, the Federal Circuit even anticipated the game-

changing distinction between Plaintiffs’ claims and Mitchell Arms:

      In revoking the permits, ATF withdrew its prior authorization for
      Mitchell to sell certain types of assault rifles in the United States.
      Otherwise, Mitchell retained complete control over the rifles.
      Mitchell could have done anything it wished with the rifles,
      except import them into the United States in their original
      configuration. Put another way, ATF did not take the rifles.

Id. at 217 (emphasis added). It should be sufficient to view Plaintiffs’ claims through

the lens of the reasoning in Mitchell Arms to defeat the Government’s motion to

dismiss and, indeed, to prove Plaintiffs’ takings claims: Plaintiffs retained no control

over the bump-stocks. Plaintiffs couldn’t do anything with the bump-stocks but

surrender or destroy them. Put another way, ATF took the bump-stocks.

      Mitchell Arms and Allied-General show that the Federal Circuit has deemed a

certain type of property—business expectancies in highly regulated areas—to be

unprotected by the Fifth Amendment because property owners always shared control

of it with the government. Plaintiffs’ property was tangible and never shared with

the government. Conceptually, the Mitchell Arms framework does not apply to

Plaintiffs’ Claims. Factually, it is also unsupportable to characterize Plaintiffs’

ownership interest in tangible bump-stocks as an interest that “may be subject to a

statutory prohibition” because the Government did everything it could, in more than

ten ATF classification decisions before reversing course in the Final Rule, to reassure




                                          19
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 25 of 33



purchasers of bump-stocks that their property would not be subject to a statutory

prohibition.

      To the extent that the business expectation defense explains this Court’s ruling

in Akins v. United States, (Mot. at 13), that case falls squarely into a single bucket

with Mitchell Arms and Allied-General. It is not relevant to Plaintiffs’ claim for

compensation for their property interest in tangible bump-stocks. If the Government

invokes the police powers defense relied on in Akins, the plaintiff’s property there

was always contraband because it was reclassified by an interpretive rule issued by

the ATF. As the Federal Circuit explained in A & D Auto Sales, Inc. v. United States,

“[i]f a challenged restriction was enacted before the property interest was acquired,

the restriction may be said to inhere in the title. If a challenged restriction was

enacted after the plaintiff's property interest was acquired, it cannot be said to

“inhere” in the plaintiff's title.” 748 F.3d 1142, 1152 (Fed. Cir. 2014). The D.C. Circuit

made unequivocally clear that the restriction on bump-stocks imposed by the Final

Rule had not been enacted when Plaintiffs acquired title in their bump-stocks. Akins

consequently has no bearing on Plaintiffs’ case.

      C.       Federal district court decisions on state laws banning the
               possession of bump-stocks do not determine the validity of
               Plaintiffs’ claims.

      The Government inexplicably wraps up its discussion of the viability of

business expectations as a cognizable property interest by switching gears to address

police powers as a justification for a state law ban on bump-stocks. Defendant cites

to a recent federal district court decision in the District of Maryland rejecting a



                                           20
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 26 of 33



takings challenge to Maryland’s ban on bump-stocks, Maryland Shall Issue v. Hogan,

353 F. Supp. 3d 400 (D. Md. 2018). It is questionable whether the analysis of a state’s

police powers is applicable to federal exercise of police powers, and the District of

Maryland’s takings rulings with respect to Maryland laws certainly are not binding

on this Court. However, if the Court intends to consider the decisions of sister courts

with respect to state laws to resolve Plaintiffs’ claims, Maryland Shall Issue should

not be the Court’s only source.

      The Southern District of California reached the conclusion that a California

state law banning and dispossessing owners of their lawfully acquired large capacity

gun magazines was a taking in violation of the Fifth Amendment. Duncan v. Becerra,

366 F. Supp. 3d 1131, 1184 (S.D. Ca. 2019). The Southern District of California

characterized the California law as a “rare hybrid taking” in that it forces owners to

choose between surrendering their property to law enforcement for destruction

(effecting a per se taking), selling their magazines at a deeply discounted rate, or

removing the magazines from the state. Id. The court in Duncan concluded that

“[w]hatever might be the State’s authority to ban the sale or use of magazines over

10 rounds, the Takings Clause prevents it from compelling the physical dispossession

of such lawfully-acquired private property without compensation.” Id. The reasoning

of the Southern District of California is in keeping with the United States Supreme

Court’s view of the U.S. Constitution’s concern about the manner in which the state

achieves its ends. See Horne, 135 S. Ct. at 2428.




                                          21
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 27 of 33



      D.     A ruling upholding Plaintiffs’ Fifth Amendment right to just
             compensation will not unleash the Government’s threatened
             parade of horribles.

      Defendant insists that the Court must give the Government a pass for taking

Plaintiffs’ personal property without compensation in violation of the Fifth

Amendment because “the upshot of accepting Plaintiffs’ theory of the case is that the

Government would be required to compensate owners for the value of any property

the possession of which was deemed unlawful, no matter how harmful.” Mot. at 17.

      That’s a fine contention in the ether, but it doesn’t come close to articulating

the nuance of what Plaintiffs are asking the Court to do. Plaintiffs are not asking for

a broad ruling on any property that is deemed unlawful. Plaintiffs’ claim requires

only that the Court find that the Final Rule on bump-stocks, as it was written and

applied to Plaintiffs’ property, was a taking. Plaintiffs’ claims specifically concern a

federal agency’s use of legislative rule-making authority to issue a ban on private

property that requires lawful property owners to surrender or destroy their property.

Accepting Plaintiffs’ argument with respect to the Final Rule does not mean the

Government would be required “to compensate owners for the value of any property

the possession of which was deemed unlawful, no matter how harmful.” The Court

does not have to decide whether deeming property unlawful would constitute a

taking. The Final Rule did more than deem bump-stocks unlawful; it required the

surrender or destruction of lawfully acquired bump-stocks. A physical taking and a

regulatory prohibition may have the same economic impact on a property owner, but

the Constitution is concerned with means as well as ends. Horne, 135 S. Ct. at 2428.



                                          22
       Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 28 of 33



      Takings are fact-specific individual inquiries. It is fear-mongering to vaguely

suggest that vindicating Plaintiffs’ Fifth Amendment rights would hamper the

federal government’s ability to regulate new synthetic drugs or any other arguably

harmful product. The statutory framework for regulating controlled substances is

broader and more flexible than federal firearms statutes, perhaps because there is no

constitutional amendment protecting the right to possess controlled substances or

widespread public concern about government infringement on those rights. The

Government has not pointed to a single instance when the regulation of a new drug—

a product that is consumable—was accomplished by a requirement of surrender (for

no compensation) or destruction, as the Final Rule did. By its very nature, a new

synthetic drug can be manufactured at any time, so it would make little sense to

mandate surrender or destruction as part of a new ban.

       It is easier to imagine the insidious erosion of private property rights that will

ensue if the Court accepts the Government’s position and sanctions the taking of

Plaintiffs’ lawfully-acquired property without compensation. Public safety is an

amorphous and value-laden concept. If the state can freely take private property

merely by asserting a prevailing notion of what poses a public safety concern,

firearms will not be the only category of private property at risk of government

usurpation.

II.   Even under a regulatory takings analysis, the Final Rule was still a
      categorical taking.

      It would require a suspension of commonsense to deny application of physical

takings analysis to Plaintiffs’ claims because the Final Rule required Plaintiffs to

                                          23
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 29 of 33



surrender tangible property or destroy it. However, even if the Final Rule were

construed as a regulatory taking, it would, nonetheless, be a per se regulatory taking.

The result of the Rule for Plaintiffs is the same whether the Rule is characterized as

a physical taking by focusing on the outcome of dispossession or a regulatory taking

by emphasizing that it was accomplished by means of regulation: the Rule stripped

Plaintiffs of all property rights in the property they lawfully acquired.

      The Government may reasonably regulate property, but a taking will occur

when a police power regulation goes “too far.” Pennsylvania Coal v. Mahon, 260 U.S.

393, 415 (1922). In Penn Central Transportation Co. v. New York City, the Supreme

Court attempted to develop a test for how far was “too far,” explaining that it required

an “ad hoc” factual inquiry. 438 U.S. 104, 124 (1978). However, the Supreme Court

subsequently clarified that where the state seeks to sustain regulation that deprives

land of all economically beneficial use, the Government must pay just compensation

unless the proscribed use interests were not part of his title to begin with. Lucas, 505

U.S. at 1027.6

      The Federal Circuit has equally applied this principal to tangible personal

property. A & D Auto Sales, Inc., 748 F.3d at 1151. Opponents of applying a per se

regulatory taking analysis to personal property rely on the Lucas decision itself, but



6 The Government stops short of suggesting that the right to possess does not inhere
to the title of lawfully acquired tangible property. Such inherent rights are of course
defined by each individual state’s common law of property and nuisance. Lucas, 505
U.S. at 1029; see also PruneYard Shopping Ctr. v. Robins, 447 U.S. 74, 84 (1980)
(“Nor as a general proposition is the United States, as opposed to the several States,
possessed of residual authority that enables it to define “property” in the first
instance.”).
                                          24
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 30 of 33



as noted by the Federal Circuit the frequently-quoted language from Lucas does not

foreclose a finding of per se regulatory taking of personal property. In Lucas, the

Court’s admonished that, “in the case of personal property, by reason of the State's

traditionally high degree of control over commercial dealings, [the property owner]

ought to be aware of the possibility that new regulation might even render his

property economically worthless (at least if the property's only economically

productive use is sale or manufacture for sale).” Lucas, 505 U. S. at 1027-28. Notably,

the Court did not say that the owner of personal property ought to be aware that new

regulation might require the surrender or destruction of his property. Awareness of

the state’s “traditionally high control over commercial dealings” (emphasis added)

does not put an owner of tangible personal property on notice that the government

might demand the surrender or destruction of his property. Private ownership of

tangible property is not commercial dealing. The Court’s emphasis on the state’s

control over commercial dealings suggests that the Court was limiting Fifth

Amendment protection for personal property of business expectancy nature, like that

claimed in Mitchell Arms and Allied-General or, as the Court suggests in its final

parenthetical, interests in the sale and manufacture of personal property, as opposed

to the mere possession of personal property. Indeed, the Court’s earlier decision in

Andrus v. Allard supports such a holding. In Andrus, the Secretary of the Interior

promulgated regulations that criminally prohibited commercial transactions in parts

of birds lawfully acquired before they came under the protection of the Eagle

Protection Act and the Migratory Bird Treaty Act. Andrus v. Allard, 444 U.S. 51, 54



                                          25
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 31 of 33



(1979). L. Douglas Allard challenged the regulations as a taking of his lawfully

acquired property under the Fifth Amendment. Id. at 55. The Supreme Court held

that the simple prohibition of the sale of lawfully acquired property does not effect a

taking in violation of the Fifth Amendment when the challenged regulations “do not

compel the surrender” of the property in question, and “there is no physical invasion

or restraint upon” it. Id. at 65. But the Court warned that “it is crucial that appellees

retain the rights to possess and transport their property, and to donate or devise the

protected birds.” Id. at 66. When the effect of regulation is that the owner of personal

property is entirely dispossessed of what was lawfully his, a finding of per se taking

is permissible under a regulatory analysis.

                                   CONCLUSION

      If the fundamental right of private property does not protect Plaintiffs here,

then the property of all Americans is left to the mercy of federal authorities who could

force anyone to surrender their property, even when it was lawfully acquired, without

paying compensation. Plaintiffs respectfully ask the Court to deny the Government’s

motion to dismiss.




                                           26
 Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 32 of 33



Dated: June 23, 2019               Respectfully Submitted,




                                   /s/ Ethan A. Flint
                                   Ethan A. Flint, Attorney of Record

                                   /s/ Adam M. Riley
                                   Adam M. Riley, Of Counsel

                                   Flint Law Firm, LLC
                                   222 E. Park St., Suite 500
                                   P.O. Box 189
                                   Edwardsville, IL 62025
                                   T: (618) 288-4777 F: (618) 288-2864
                                   eflint@flintlaw.com
                                   ariley@flintlaw.com




                              27
        Case 1:19-cv-00449-LAS Document 7 Filed 06/23/19 Page 33 of 33



                             CERTIFICATE OF SERVICE

       The undersigned certifies that on June 23, 2019, I caused a true and correct
copy of the foregoing Plaintiffs’ Opposition to Defendant’s Motion to Dismiss to be
served by electronic filing on the counsel of record for the Government:

                          Nathanael B. Yale
                          United States Dept of Justice
                          Civil Division
                          P.O. Box 480
                          Ben Franklin Station
                          Washington, D.C. 20044
                          Nathanael.B.Yale@usdoj.gov


By:   /s/ Adam M. Riley
      Adam M. Riley, Of Counsel




                                         28
